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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                   GttENW00D DIVISION
WITED STATES OF AMERICA                              )CRIMINAL NO.:8:18-484-DCC
                                                     )

                                                     )

                                                     )        PLEA AGREEDIENT
                                                     )

ANTHONY DANTE         HOLLOWAY                       )


                                       General Provisions

       ThsPLEA AGMEMENTお madc面 s′ Z_day O理 塾                             匹 〃    2018,bemen ic

United States of America, as represented by United States Attorney SHERRI A. LYDON,

Assistant United States Attorney Leesa Washington and the Defendant, ANTHONY DANTE

HOLLOWAY, represented by Erica M. Soderdahl, Esquire.

       IN CONSIDERATION of the mutual promises made herein, the parties agree as follows:

1.     The Defendant agrees to plead guilty to Counts 1,2 and 3 of the Superseding Indictment

which charges felon in possession of a firearm, in violation of the Title l8 U.S.C. Section 92aG);

possession with intent to distribute a quantity of a mixture or substance containing a detectable

amount of fentanyl, a Schedule   II controlled   substance,   in violation of Title 2l U.S.C. Sections

841(a)(1), 84i(bXlXC); and possession of a firearm in connection with a drug trafficking offense,

in violation of the Title 18 U.S.C. Section 924(c). In order to sustain its burden of proof      as to


Count 1, the Govemment is required to prove the following:

       (1)     The defendant had previously been convicted of a crime punishable by a term        of
               imprisonment exceeding one year;

       (2)     The defendant knowingly possessed, transported, shipped, or received, the firearm
               or ammunition; and

       (3)     The possession was in or affecting commerce, because the firearm or ammunition
               had traveled in interstate corunerce at some point during its existence.
PENALTY:
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Maximum: 10 years
Supervised release: at least 3 years
Fine: $250,000
Special Assessment: $ 1 00.00

If three (3) or more qualifuing predicate convictions:

PENALTY:
Mandatory min: 15 years
Maximum: life
Supervised release: at least 5 years
Fine: $250,000
Special Assessment: $ I 00.00

        In order to sustain its burden of proof    as   to Count 2, the Govemment is required to prove
the following:

       (1)     The defendant knowingly and intentionally possessed the controlled substance
               described in the indictment;

        (2)     At the time of such possession, the defendant knew that the substance was a
                controlled substance;

        (3)     The defendant possessed the controlled substance with the intent to distribute.

PENALTY:
Maximum:30 years
Supervised release: at least 3 years
Fine: $1,000,000
Special Assessment: $ I 00.00

         In order to sustain its burden of proof   as   to Count 3, the Government is required to prove
the following:

        (1)     The defendant committed a crime of violence or a drug traffrcking crime that may
                be prosecuted in a court of the United States;

        (2)     During and in relation to the commission of the cdme, the defendant knowingly
                used or carried or possessed a firearm in furtherance of such crime.

PENALTY:
Mandatory minimum: 5 years (consecutive)
Maximum: life
Supervised release: 5 years
Fine: $250,000
Special Assessment: $ 1 00.00
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2.       The Defendant understands and agrees that monetary penalties [i.e., special assessments,

restitution, fines and other payments required under the sentence] imposed by the Court are due

immediately and subject to enforcement by the United States as civil judgments, pursuant to 18

U.S.C. $ 3613. The Defendant also understands that payments made in accordance with

installment schedules set by the Court are minimum payments only and do not preclude the

govemment from seeking to enforce the judgment against other assets of the defendant at any time,

as   provided in 18 U.S.C. $$ 3612, 3613 and 366a(m).

         The Defendant further agrees to enter into the Bureau of Prisons Inmate Financial

Responsibility Program      if   sentenced   to a term of incarceration with an unsatisfied   monetary

penalty. The Defendant further           understands that any monetary penalty imposed          is   not

dischargeable in bankruptcy.

             a. Special Assessment:     Pursuant to 18 U.S.C. $3013, the Defendant must pay a special
                  assessment of $100.00 for each felony count for which he is convicted. This
                  special assessment must be paid at or before the time of the guilty plea hearing.

             b.   Fines: The Defendant understands that the Court may impose a fine pursuant to 18
                  U.S.C. $$ 3s71 and3572.

3.       The Defendant understands that the obligations of the Government within the Plea

Agreement are expressly contingent upon the Defendant's abiding by federal and state laws and

complying with any bond executed in this case. In the event that the Defendant fails to comply

with any of the provisions of this Agreement, either express or implied, the Govemment will have

the right, at its sole election, to void all of its obligations under this Agreement and the Defendant

will not have any right to withdraw his plea of guilty to the offense(s)   enumerated herein.

4.       The Defendant understands that the matter of sentencing is within the sole discretion of the

Court and that the sentence applicable to Defendant's case          will be imposed after the Court
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considem as advisory the United States Sentencing Commission Guidelines, Application Notes

and Policy Statements, as well as the factors set forth in Title 18, United States Code, Section

3553(a). The Defendant also understands that Defendant's sentence          has not yet been determined


by the court, and that any estimate of a probable sentencing range Defendant may have received

from Defendant's attomey, the Govemment or the United States Probation Office is only                 a


prediction, not   a   promise, and is not binding on the Govemment, the Probation office or the court.

The Defendant further understands that the Govemment retains the right to inform the Court of

any relevant facts, to address the Court with respect to the nature of the offense, to respond to

questions raised by the Court, to correct any inaccuracies or inadequacies in the presentence report,

to respond to any statements made to the Court by or on bchalfofthe Defendant and to summarize

all evidence which would have been presented at trial to establish a factual basis for the plea.


                                       Stipulations and Forfeiture

5.      'fhe Defendant and the Govemment stipulate and agree to the following for purposes of

calculating the Defendant's sentence pursuant to the United States Sentencing Commission

Guidelines:

        a.        Pursuant to U.S.S.G. Section 3C1.1, the base offense level should be
                  increased two (2) levels; and

        b.        The provisions of U.S.S.G. Section 3E1.1 do not apply to the Defendant's
                  case.


The Defendant understands that these stipulations are not binding upon the Court or the United

States Probation      office, and that the Defendant   has no right to withdraw his/her plea should


these stipulations not be accepted. Further, the Defendant understands and acknowledges that

these stipulations are binding on the Govemment only in the event that the Defendant complies
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with ALL of the terms of this Agreement and does not contest any of the above stipulations or

any readily provable relevant conduct.

6.          The Defendant agrees to voluntarily abandon all right, title, interest and claim in the

firearm(s) and ammunition seized from him during the investigation and prosecution of this case,

including: a Jimenez model JA 9mm pistol serial number: 28l3gg and 9mm ammunition.

                                      Merger and Other Provisions

7.          The Attomeys for the Government agree not to pursue federal charges and to recommend

that the Defendant not be prosecuted for any similar or related state crimes, stemming from his

arrest on September 25,2018, nor conduct related             to his failure to appear for proceedings in

connection with this case so long     as the   Defendant complies with the terms of this Plea Agreement.

The Defendant understands that this is only a recommendation and is not binding on Greenwood

City/County prosecuting and law enforcement               officials.   Furthermore, the Defendant fully

understands that he has no right to withdraw his guilty plea should such recommendation not be

followed by Greenwood City/County prosecuting and law enforcement officials. The Defendant

understands that the Court may consider such conduct as relevant conduct pursuant          to $181.3 of

the United States Sentencing Guidelines.

8.          The Defendant represents to the court that he has met with his attomey on a sufficient

number of occasions and for a sufficient period of time to discuss the Defendant's case and receive

advice; that the Defendant has been truthful with his attorney and related all information of which

the Defendant is aware pertaining to the case; that the Defendant and his attomey have discussed

possible defenses,      if   any, to the charges in the indictment including the existence of any

exculpatory or favorable evidence or witnesses, discussed the Defendant's right to a public trial

by   j,ry   or by the Court, the right to the assistance of counsel throughout the proceedings, the right
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to call witnesses in the Defendant's behalf and compel their attendance at trial by subpoena, the

right to confront and cross-examine the government's witnesses, the Defendant's right to testify

in own behalf, or to remain silent and have no adverse inferences drawn from silence; and that the

Defendant, with the advice of counsel, has weighed the relative benefits of a trial by   j"ry   or by the

Court versus a plea of guilty pursuant to this Agreement, and has entered this Agreement as a

matter of the Defendant's free and voluntary choice, and not as a result of pressure or intimidation

by any person.

9.       TheDefendantis aware that l8 U.S.C. 5 3742and 28 U.S.C. 52255afford every

defendant certain rights to contest a conviction and.ior sentence. Acknowledging those rights,

the Defendant, in exchange for the concessions made by the Government in this Plea Agreement,

waives the right to contest either the conviction or the sentence in any direct appeal or other post-

conviction action, including any proceedings under 28 U.S.C. 5 2255. (This waiver does not

apply to claims of ineffective assistance of counsel or prosecutorial misconduct raised pursuant

to 28 U.S.C . S 2255, or future changes in the law that affect the defendant's sentence.) This

Agreement does not affect the rights or obligations of the Government as set forth in 18 U.S.C.        $


3742(b). Nor does it limit the Government in its comments in or responses to any post-

sentencing matters.

10.       The Defendant waives all rights, whether asserted directly or by a representative, to request

or receive from any department or agency of the United States any records pertaining to the

investigation or prosecution of this case, including without limitation any records that may be

sought under the Freedom of Information Act, 5 U.S.C. $ 552, or the Privacy Act      of 1974,5 U.S.C.

$ 552a.

1   1.    The parties hereby agree that this Plea Agreement contains the entire agreement of the
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parties; that this Agteement supersedes all prior promises, representations and statements of the

parties; that this Agreement shall not be binding on any party    urtil   the Defendant tenders a plea   of

guilty to the court having jurisdiction over this matter; that this Agreement may bemodified only

in writing signed.by all parties; and that any and all other promises, representations and statements,

whether made prior to, contemporaneous with or after this Agreement, are null and void.




DATE


DATE                                           ERICA M.SODERD
                                               Attomey forthe Defendant

                                               SHERRI A.LYDON

                                       BY:

                                               Assistant United
                                               55 Beattic Place
                                               Greenville,SC 29601
                                               Tel.(864)282-2100

                                               AWORNEYSFOR THE GOⅦ RNMENT
